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                     7                              IN THE UNITED STATES DISTRICT COURT
                                               FOR THE DISTRICT OF ARIZONA, PHOENIX DIVISION
                     8

                     9        TROY GAMM                                          Case No.: 2:16-cv-02045-GMS
                                      Plaintiff,
                   10
                              v.                                                 NOTICE OF SETTLEMENT
                   11
                                   USAA FEDERAL SAVINGS
                   12         BANK, EQUIFAX INFORMATION
                              SERVICES LLC, EXPERIAN
                   13         INFORMATION SOLUTIONS, INC., AND
                              TRANS UNION, LLC,
                   14

                   15                 Defendants.
                                    Troy Gamm (“Plaintiff”) and Equifax Information Services LLC (“Equifax”) (hereinafter
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                            Equifax together with Plaintiff referred to as “Parties”), by and through their undersigned counsel,
                   17
                            hereby notify the Court that the Parties have reached a settlement in the above-referenced matter
                   18
                            which will include the dismissal with prejudice of all claims against Equifax. The Parties are in the
                   19
                            process of finalizing the settlement, whereupon the Parties will move for dismissal with prejudice.
                   20
                            The Parties anticipate that the settlement and dismissal of claims against Equifax will be finalized
                   21
                            within the next sixty (60) days.
                   22
                                    Respectfully submitted this 27th day of July, 2016.
                   23
                                   SNELL & WILMER LLP                               MCCARTHY LAW PLC
                   24
                                   By: /s/ Jacob C. Jones                           By:/s/ Joon N. Kee
                   25              Jacob C. Jones                                   Joon N. Kee
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                            Gamm v. USAA et al.                              1                             Notice of Settlement
                             Case 2:16-cv-02045-GMS Document 14 Filed 07/27/16 Page 2 of 2




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                                                             CERTIFICATE OF SERVICE
                     2
                                   I hereby certify that on this 27th day of July, 2016, I electronically transmitted the foregoing
                     3
                            document to the Clerk’s Office using the ECF system for filing and transmittal of a Notice of
                     4
                            Electronic Filing to all CM/ECF registrants of record in this matter.
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                     6                                                                    /s/ Joon N. Kee

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